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                           IN THE UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF ARKANSAS
                                       CENTRAL DIVISION
RE: Carmil Suggs


CASE NO:      4:18-bk-16611 T                                                                        Chapter 13

                                         TRUSTEE'S MOTION TO DISMISS



    COMES now Jack W Gooding, Standing Trustee for Chapter 13 cases and for his Motion to Dismiss

states:

    1. That an Order was entered on 04/27/2022 requiring the debtor to file a modification to the plan within

28 days.

    2.    That the Trustee has not been served with the modified plan nor has the debtor requested an

extension of time within which to make such modification.

    WHEREFORE, your petitioner prays for an order dismissing this case and for all other just and proper

relief.

Date: 06/02/2022                                                /s/   Jack W Gooding

                                                               Jack W Gooding,
                                                               Standing Chapter 13 Trustee




                                          CERTIFICATE OF SERVICE
   I, Jack W Gooding, do hereby certify that a true and correct copy has been mailed this day, 6/2/2022, with sufficient
postage to assure delivery to the following:


Carmil Suggs
1425 Ola St
Conway, AR 72032-8565

Matthew D Mentgen (Ach) - Electronically by ECF

                                                                /s/   Jack W Gooding

                                                               Jack W Gooding,
                                                               Standing Chapter 13 Trustee
